                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,

                   Plaintiff,

     v.
                                          CASE NO. 1:20-cv-00954-WO-JLW
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT SERVICES,
INC.,

                   Defendants.



              DECLARATION OF CRAIG THOMAS EVERS

      I, Craig Thomas Evers, do hereby declare under penalty of perjury,

pursuant to 28 USC § 1746, this Declaration is hereby submitted in support

of my Motion to Quash the following two (2) Subpoenas which have been

served on me individually: “SUBPOENA TO PRODUCE DOCUMENTS,

INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF

PREMISES IN A CIVIL ACTION” and “SUBPOENA TO TESTIFY AT A

DEPOSITION IN A CIVIL ACTION.”

      A true and accurate copy of the original Subpoenas personally served

on me are attached hereto and incorporated herein by reference, respectively,

as Exhibit A (Subpoena duces tecum) and Exhibit B (Subpoena to Testify at

a Deposition). The original dates for responding were April 7, 2023 at 5:00

PM (Exhibit A) and April 12, 2023 (Exhibit B), respectively. After my
                                      1



     Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 1 of 8
counsel spoke with counsel for Plaintiff, Farhad Azima, the response dates

were amended to April 12, 2023 (Exhibit A) and April 18, 2023 (Exhibit B),

respectively. A copy of the Amended Subpoena to Testify at a Deposition and

Amended Notice of Deposition are collectively attached hereto, and

incorporated herein by reference, as Exhibit C.

                                I. Background

       1.    I am Craig Thomas Evers and I will be sixty-five (65) years of age

by the end of April 2023. I reside in Mecklenburg County, North Carolina and

I am both retired and disabled: however, I am competent to provide this

Declaration.

       2.    I am a high school graduate without any formal college

education.

       3.    In or about 1982 I first joined the Mecklenburg County Sheriff’s

Department as a deputy where I worked for approximately six (6) years. I left

on good terms to take a job with the Matthews Police Department as a police

officer.

       4.    I left the Matthews Police Department on good terms in or about

December of 1990 when I moved to New Mexico. While in New Mexico I

secured a private investigators’ (“PI”) license.

       5.    In or about early 1993, I returned to Charlotte, North Carolina

and secured a North Carolina PI license and went into business for myself. I

                                        2



      Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 2 of 8
worked on typical PI cases like divorce and personal injury, mostly working

as a subcontractor to other PIs.

      6.    Toward the end of 2015 I became effectively disabled which

prevented me from doing traditional investigative work under my PI license.

      7.    Recently, I have been working part time at a grocery store

providing janitorial services.

                            II. Nicholas del Rosso

      8.    I first met Nicholas del Rosso (“Mr. del Rosso”) around 1994 or

1995 after I went to work for a company in which Mr. del Rosso was an

owner. The company did what I called “intellectual property” work for

companies that are trying to prevent the fraudulent counterfeiting of their

products. The company was eventually sold but I remained with the company

while Mr. del Rosso and his partner left the company after a brief transition

period. Several years later I eventually went out on my own.

      9.    In or about 2007 or 2008 I ran into Mr. del Rosso in Charlotte,

walking out of a building, while I was going in to have lunch. A few months

later we met for lunch. Thereafter, I did some local work for Mr. del Rosso’s

company, Vital Management Services, Inc. (“VMS”). I was paid for my

services as a 1099 independent contractor.




                                      3



     Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 3 of 8
      10.   The last time I did work for VMS and/or Mr. del Rosso was in

early 2014, which is when I got out of PI work. We parted on good terms. By

May of 2014 I was looking for janitorial work.

      11.   I have performed no work of any kind for Mr. del Rosso or VMS

since very early in 2014.

                               III. Subpoenas

      12.   I was served by a process server with the two Subpoenas

(Exhibit A and Exhibit B) at my home on March 28, 2023. My interaction

with the process server was brief and cordial.

      13.   Regarding the Subpoena for documents (Exhibit A), I was

confident that I had no responsive documents for a few reasons:

            (a) My PI days were far behind me.

            (b) I have, over time, purposefully and intentionally, destroyed all

            of my investigative work files. My files had become so voluminous

            over the years that periodically I would have my older files

            destroyed. All of my PI files have now been destroyed for some

            time.

            (c) With regard to electronically stored information (i.e. my

            computers), I had a longtime friend who had a business where he

            would take computers (for free) and would wipe them clean,

            taking them back to like “factory new” and then would resell

                                       4



     Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 4 of 8
            them with new software. All of my work computers were

            repurposed in this way.

      14.   After my lawyer (Mr. Shanahan) had conferred with counsel for

Mr. Azima, he asked me to search my home and any and all devices which

could be storing any kind of records to see if there were any documents I

could find that would relate in any way to the information described in either

of the Subpoenas which had been served on me. I did as asked and found no

responsive documents and no documents related to any work for Mr. del

Rosso or VMS. This means I believe all the work I did for Mr. del Rosso or

VMS was (would have been) destroyed, along with my PI work for others.

      15.   Thus, after a reasonable and robust search in good faith for

responsive documents I am in possession of no documents for the period

asked for in the Subpoena for documents (Exhibit A), namely August 1, 2014

to the present.

      16.   Attached to the Subpoena for documents (Exhibit A) is

“Attachment A Instructions” which includes various “Definitions.” In

paragraph 10 of the Definitions Section, a definition for “Hacked Data” is

given. I know of no such data ever having been in my possession. Moreover, I

had never heard of Farhad Azima until I received the Subpoenas (Exhibits A

and B). Furthermore, paragraphs 11, 12, 13, 14, 15, 16, 17, 18 and 19 make

reference to various individuals and entities (Note: the same individuals and

                                      5



     Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 5 of 8
entities also appear in the “Documents to Be Produced” Section of the

Subpoena for documents (Exhibit A) at paragraph 3 in its subsections – none

of which I am familiar with, nor do I recall any of them being included in or

associated with any work I performed for Mr. del Rosso, VMS or anyone ever

at any time.

                            IV. Subpoena to Testify

      17.   Given that I have not performed any PI work for Mr. del Rosso or

VMS from August 1, 2014 to the present, together with the fact that I have

no documents responsive to the Subpoena for documents (Exhibit A), I do

not believe I have any pertinent knowledge about the dispute among the

parties before the Court.

      18.   I am also concerned that testifying about clients for whom I was

asked to perform PI and related services, including, but not limited to Mr. del

Rosso and VMS, would or may violate my duty of confidentiality to those

clients.

      19.   I am over the age of eighteen (18) years of age and competent to

testify as to the matters set forth in this Declaration.

      20.   I declare under penalty of perjury that the foregoing is true and

correct pursuant to 28 USC § 1746.




                                        6



     Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 6 of 8
Executed on April 11, 2023 in Charlotte, North Carolina


                                   By:     /s/ Craig T. Evers_______
                                         Craig T. Evers




                               7



Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 7 of 8
                        CERTIFICATE OF SERVICE

      I hereby certify that on this 11th day of April 2023, I electronically filed
the foregoing document with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

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                                        8



     Case 1:20-cv-00954-WO-JLW Document 199 Filed 04/11/23 Page 8 of 8
